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  ME2 Productions, Inc., and
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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   ME2 Productions, Inc., and                    )   Case No.: 1:17-cv-00320-JMS-RLP
   Venice PI, LLC                                )   (Copyright)
                                                 )
                         Plaintiffs,             )   STIPULATED CONSENT
           vs.                                   )   JUDGMENT BETWEEN
                                                 )   PLAINTIFFS AND DEFENDANT
   DRAGON MEDIA, INC. et al.                     )   NAINO BETTENCOURT
                                                 )
                         Defendants.             )
                                                 )
                                                 )
                                                 )
                                                 )

             As attested to by the signatures of the Defendant and counsel for the Plaintiffs

  below, this matter comes before the Court on the parties’ joint stipulation.

             Plaintiffs ME2 PRODUCTIONS, LLC. and VENICE PI, LLC (hereafter

  “Plaintiffs”), have filed a Complaint against Defendant Naino Bettencourt DBA


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  Dragon Box HI (hereafter: “Defendant”) of Honolulu, Hawaii among others.

        Plaintiffs complain and allege than Defendant induced infringement of their

  motion pictures Mechanic: Resurrection and Once Upon a Time in Venice in

  violation of U.S. copyright law.

        The parties, after conferral and investigation, now appear, Defendant pro se

  and Plaintiffs through counsel to fully and finally resolve all claims between the

  parties and the matters before the Court and have moved for entry of this Stipulated

  Consent Judgment to effect the terms of their settlement.

          WHEREFORE IT IS HEREBY STIPULATED AND ORDERED for all

    matters relevant to this case between the parties as follows:

          1. This court has jurisdiction over the parties and venue is proper.

          2. Plaintiffs have valid and enforceable copyrights in the original

    copyrighted works as identified in the Fourth Amended Complaint [Doc. # 79].

          3. Defendant denies liability.

          4. Pursuant to the settlement agreement of the parties, the below

    Permanent Injunction is to be entered against Defendant Naino Bettencourt.

                            PERMANENT INJUNCTION

         Defendant is hereby PERMANENTLY ENJOINED from directly,

   contributorily or indirectly infringing Plaintiffs’ rights in their motion pictures,
                                            2
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   including without limitation by using the Internet to reproduce or copy any of

   Plaintiffs’ motion pictures, except pursuant to a lawful written license from

   Plaintiffs;

          Defendant is ORDERED to refrain from knowingly and willfully using the

   Internet for copying, downloading content or inducing streaming of content in

   violation of U.S. copyright law.

          Except as provided herein, each party is to bear their own costs and fees.

   With entry of this Consent Judgment, this matter is terminated with respect to

   Defendant Naino Bettencourt DBA Dragon Box HI.

   APPROVED AND SO ORDERED,

   DATED: Honolulu, Hawaii, June 28, 2018.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          Chief United States District Judge




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  So Stipulated and Respectfully Submitted:



  On Behalf of Plaintiffs                        On Behalf of Defendant



  Isl Kerry S. Culpepper
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